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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 PULSEDATA, INC.,
                                                     Case No. 1:23-cv-03653 (JMF)
                                Plaintiff,
            v.                                        NOTICE OF MOTION
                                                      TO ADMIT COUNSEL
                                                      PRO HAC VICE
JUNG HOON SON,

                                Defendant.


       Pursuant to Rule 1.3 of the Local Rules of the United States Courts for the Southern and

Eastern Districts of New York, I, Steven J. Pacini, hereby move this Court for an Order for

admission to practice pro hac vice to appear as counsel for Plaintiff pulseData, Inc., in the above-

captioned matter.

       I am a member in good standing of the Bar of the State of Massachusetts, and a certificate

of good standing is attached hereto as Exhibit A. There are no pending disciplinary proceedings

against me in any state or federal court. I have never been convicted of a felony. I have never been

censured, suspended, disbarred, or denied admission or readmission by any court. I have attached

the declaration pursuant to Local Rule 1.3.

Dated: July 6, 2023                                 Respectfully Submitted,
       Boston, Massachusetts                        LATHAM & WATKINS LLP
                                                    /s/ Steven J. Pacini
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                                                    Attorneys for pulseData, Inc.



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